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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division

                            CASE NO.: 20-cv-22967-BLOOM/Louis


 OPTIMUS MSO II INC.,

        Plaintiff,

 v.

 SIMPLY HEALTHCARE PLANS, INC.,

        Defendant.
                                               /

                                JOINT SCHEDULING REPORT

        Plaintiff Optimus MSO II Inc. and Defendant Simply Healthcare Plans, Inc.

 jointly file their Joint Scheduling Report in compliance with the Court’s Order (ECF No. 3), Fed

 R. Civ. P. 26(f), and S.D. Fla. Local Rule 16.1 following a conferral attended by counsel for all

 parties on August 27, 2020.

        I.      Case Management Track (S.D. Fla. L.R. 16.1(a))

        The parties agree that this case should be assigned to the Standard Case

 Management Track.

        II.     Conference Report (S.D. Fla. L.R. 16.1(b))

        A.      Likelihood of Settlement

        The Parties agree to engage in settlement discussion as this case progresses.

        B.      Likelihood of Appearance in the Action of Additional Parties

        The appearance of additional parties is not anticipated at this time.




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        C.      Parties’ Proposed Deadlines

        The parties propose the deadlines set forth in Exhibit A.

        D.      Proposal for Formulation and Simplification of Issues

        The parties will attempt to work in good faith to narrow and simplify the issues for trial, to

 eliminate any claims or defenses found through discovery to be lacking in merit, to obtain

 admissions that will avoid unnecessary proof at trial, and to avoid unnecessary discovery.

        E.      The Necessity or Desirability of Amendments to the Pleadings

        The parties reserve the right to amend the pleadings up to the deadline for doing so and

 thereafter upon motion for good cause.

        F.      The Possibility of Obtaining Admissions of Fact and Documents

        The parties will work together, in good faith, to stipulate to undisputed facts and to obtain

 admission that will avoid unnecessary proof at trial. The parties are not aware of any specific e-

 discovery related issues at this time, but in the event discovery or e-discovery issues arise during

 the pendency of this case, the parties agree to meet and confer to resolve any such issues prior to

 seeking intervention of the Court.

        G.      Suggestions for the Avoidance of Unnecessary Proof and Cumulative Evidence

        The parties agree to cooperate in developing pretrial stipulations to avoid unnecessary

 proof and cumulative evidence.

        H.      Suggestions on the Advisability of Referring Matters to Magistrate Judge or

 Master

        The parties agree to have discovery matters referred to the Magistrate Judge for resolution.




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        I.      Preliminary Estimate of Time for Trial

        The parties estimate that the trial of this matter will take five days.

        J.      Pretrial Conference and Trial Dates

        See Section II.C above. The parties defer to the Court with regard to any need for a pretrial

 conference.

        K.      Any Issue About Disclosure, Discovery, or Preservation of Electronically

 Preserved Information

        There are no issues identified at this time.

        L.      Any Other Information Helpful to the Court in Setting the Case for

 Conference

        None at this time.

 Respectfully submitted,

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  By: /s/ Patrick G. Dempsey                           Craig H. Smith
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  Counsel for Plaintiff                                Counsel for Defendant Simply Healthcare
                                                       Plans, Inc.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 27, 2020, the foregoing was filed with the Clerk

  of Court using CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.



                                              By: /s/Patrick Dempsey




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                           CASE NO.: 20-cv-22967-BLOOM/Louis


 OPTIMUS MSO II INC.,

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 SIMPLY HEALTHCARE PLANS, INC.,

       Defendant.
                                             /


                       PRETRIAL DEADLINES AND TRIAL DATE


 09/25/2020    Joinder of parties and claims, and amendment of pleadings.
 10/07/2021    Deadline to file Proposed Order Scheduling Mediation including name of
               mediator, date, time and location of the mediation consistent with the Order of
               Referral of Mediation.

 05/24/2021    All fact discovery to be completed.
               Deadline to submit joint notice indicating whether the parties consent to
               jurisdiction before the designated magistrate judge for purpose of final
               disposition.

               Deadline for Plaintiff to disclose expert witness summaries/reports pursuant to
               F.R.C.P. 26(a)(2). Rebuttal disclosures are permitted, and must conform to the
               deadline set forth in F.R.C.P. 26(a)(2)(D)(ii).

 06/28/2021    Deadline for Defendant to disclose expert witness summaries/reports pursuant to
               F.R.C.P. 26(a)(2). Rebuttal disclosures are permitted, and must conform to the
               deadline set forth in F.R.C.P. 26(a)(2)(D)(ii).


 07/12/2021    Deadline to complete mediation, consistent with the Order of Referral to
               mediation




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 08/02/2021   All expert discovery must be completed.

 08/16/2021   Deadline for the filing of all dispositive motions.

 09/06/2021   Deadline to file pretrial motions, including motions in limine and Daubert
              motions.

 10/06/2021   Deadline to file joint pretrial stipulation pursuant to Local Rule 16.1(e) and
              pretrial disclosures pursuant to F.R.C.P. 26(a)(3).

 10/27/2021   Final proposed jury instructions (for jury trial) or findings of fact and conclusions
              of law (for bench trial) must be submitted pursuant to Local Rule 16.1(k).

 11/15/2021   Trial Date.




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